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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )          2:19cr344-MHT
                                      )               (WO)
WILLIE M. BURKS, III                  )

                                   ORDER

      It is ORDERED that defendant Willie M. Burks, III’s

motion in limine (doc. no. 34) is denied in part and

conditionally granted in part as outlined during the oral

argument on January 8, 2021.              The evidence of prior acts

of shackling and the evidence of a specific use-of-force

incident     in    2018--the      first    and     third    categories        of

evidence addressed by defendant Burks’s motion--will be

admitted      as     to   Count    Two,     subject        to   a    limiting

instruction by the court.             As the government agreed in

the    representations        made    during       the   January       8    oral

argument,      the    court    will       decide    whether         these    two

categories of evidence and the evidence of incidents

where defendant Burks declined to assist inmates will be

admitted as to Count One, depending on the evidence
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presented   during     defendant      Burks’s     testimony      or    on

cross-examination.

    DONE, this the 11th day of January, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  2
